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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

 In re:                                             §
                                                    §
 ENERGY FISHING & RENTAL                            §                 Chapter 11
 SERVICES, INC.,                                    §              Case No. 20-20299
                                                    §
           Debtor.                                  §

                             DECLARATION OF ARTHUR POTTER
                            IN SUPPORT OF FIRST DAY MATTERS

          I, Arthur Potter, do hereby declare as follows:

          1.     My name is Arthur Potter. I am over the age of eighteen years, I have never been

convicted of a felony or crime of moral turpitude, and I am otherwise qualified to make this

declaration. The factual matters set forth herein are within my personal knowledge and are true

and correct.

          2.     I am the Chairman of Energy Fishing & Rental Services, Inc. (the “Debtor”). The

Debtor was established and incorporated in January 2005. Its primary business involves providing

oilfield fishing services. “Fishing” refers to efforts to recover unwanted material caught or left in

an oil or gas wellbore. No fishing job is ordinary, and there is rarely an off-the-shelf solution.

Getting a project back on track through fishing requires experts with proven skill, experience, and

the ability to innovate. More than any other kind of drilling and completing operation, fishing is

an art, and it requires critical thinking and skillful use of an expert’s tools and experience. The

Debtor’s officers have a combined total of 105 years of direct experience in fishing and downhole

interventions.

          3.     In addition to fishing services, the Debtor provides a suite of related product and

service lines. These include plugging and abandonment services, casing jacks, pumps and power




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swivels, thru-tubing tools, whipstocks and section mills, and a variety of rental tools. Simply put,

the Debtor is in the oilfield services business.

       4.      Unfortunately, since the beginning of 2020, the oil and gas industry—and

particularly the oilfield services industry—has faced continuous new challenges. In March 2020,

Russia and Saudi Arabia engaged in an economic conflict over the price of oil and gas. This led

to a dramatic fall in the price of oil. At the same time, the ongoing COVID-19 pandemic began to

intensify, leading to shut-downs around the world. These combined forces wreaked havoc on the

oil and gas industry and the Debtor’s business. Accordingly, the Debtor filed this Bankruptcy

Case to reorganize its financial affairs and save its going concern value.

       5.      I am making this declaration in support of various “first-day” matters that I

understand will be set for hearing at the beginning of the Debtor’s bankruptcy case, including (A)

a motion to pay prepetition wages; (B) a motion to pay prepetition sales taxes; (C) a motion to pay

prepetition critical vendors; (D) a motion for authority to use cash collateral; and (E) a motion to

provide adequate assurance to utility providers (collectively, the “First Day Motions”). I am also

making this declaration in support of emergency consideration of the First Day Motions.

A.     MOTION TO PAY PREPETITION WAGES

       6.      The Debtor’s salaried employees were paid current before the Petition Date and are

not owed any prepetition amounts. The Debtor’s independent contractors, however, are owed

relatively small amounts of money based on prepetition work performed:

                    Contractor            Service Provided             Amount
                    Callina Anderson      Administrative Support      $2,462.50
                    Allen Hebert          Safety and Contracts        $4,837.00
                    Thomas Crossland Sales                            $3,183.00
                    Gary Wood             Account Manager             $4,000.00
                                                        TOTAL        $14,482.50


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       7.      Similarly, the Debtor owes certain employees or contractors reimbursements for

expenses such employees or contractors incurred on the Debtor’s behalf:

                               Contractor                     Amount
                               Bejarano, Ervey           $      573.00
                               Martinez, Hector H Jr     $      452.00
                               Ramirez, Hyram V.          $   1,487.00
                               Vice, Kennie James        $      744.00
                                             TOTAL        $   3,256.00

       8.      It is essential that the Debtor immediately establish the standard of treatment for

fulfilling its obligations to its Employees. Any delay in paying these obligations will adversely

affect the Debtor’s relationship with the employees and could irreparably impair morale. At this

critical early stage, the Debtor cannot risk the substantial disruption to its business operations that

will result if payment is not permitted. Moreover, the Debtor constitutes a relatively small

business, and it relies heavily on the particularized skills of its employees. The risk of losing such

valued and qualified persons would cripple any reorganization effort.

       9.      Finally, the Debtor also owes $5,224.00 to Dearborn Life on account of employee

benefits, including vision, dental, long term disability, and similar insurance programs. It is

essential for the Debtor to continue providing benefits to its employees in order to maintain morale,

particularly given the ongoing pandemic. It is therefore critical that the Debtor stays current with

Dearborn Life. Moving to an alternative benefits provider would be impracticable and costly. It

makes far more sense from an economic perspective simply to pay the small amount due to

Dearborn.




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B.      MOTION TO PAY PREPETITION SALES TAXES

        10.    As part of its day-to-day business operations, the Debtor collects sales taxes from

its customers. For the month of August 2020, the Debtor owes the following amounts in sales

taxes to the following State governments: (i) Texas - $18,966.16; and (ii) Pennsylvania - $16.75.

The Debtor expects that it will owe similar amounts for the period of time between September 1,

2020 and the Petition Date. The Debtor therefore seeks authority to pay all State sales tax debts

incurred before the Petition Date (collectively, the “Sales Taxes”). Generally speaking, such funds

are held in trust by the Debtor on behalf of the State government to which they are owed, and the

Debtor will incur significant penalties and interest if it does not pay these amounts timely.

C.      MOTION TO PAY PREPETITION CRITICAL VENDORS

        11.    By this motion, the Debtor requests authority to pay the following critical vendors

(the “Vendors”):

 Vendor                                   Services Provided                               Amount
 American Express                         Credit Card                                    $8,644.00
 DISA                                     Drug Screening                                   $171.00
 Sun Trust Bank                           Credit Card                                    $5,773.00
 Robert Whitley                           Contract Fishing Tool Supervisor             $72,481.05
 Billy Roberts Downhole Recovery          Contract Fishing Tool Supervisor             $28,043.46
 (Billy T Roberts)
 Primo Oilfield Services LLC (Allen       Contract Fishing Tool Supervisor                 $597.77
 Lee)
 Gary Slough                              Contract Fishing Tool Supervisor               $2,607.33
 J.D. Dickinson                           Contract Fishing Tool Supervisor                 $580.16
 Robert Wilson                            Contract Fishing Tool Supervisor             $20,742.15
 T5 Enterprises Inc. (Steve Toddy)        Contract Fishing Tool Supervisor             $15,915.34
                                                                         TOTAL        $155,555.26




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       12.     It is critical for the Debtor to continue its business relationship with each of the

Vendors, uninterrupted to the greatest extent possible. Continued and uninterrupted use of the

credit cards is essential, for example, because the Debtor, in the ordinary course of its business,

must sometimes make purchases on the fly unique to a particular job. Without the availability of

the credit offered by American Express and Sun Trust Bank, the Debtor’s business could suffer

substantially but needlessly. It is also critical that the Debtor maintains its drug screening

relationship with DISA. The Debtor’s industry is dangerous enough even when every participant

is of sound mind and body. The Debtor therefore prides itself in maintaining a drug-free and

inherently safer workplace for its employees than it could provide without drug screening. Finally,

and perhaps most critically, the Debtor must pay it third-party, contract fishing tool supervisors.

If these Vendors were to stop work, the jobs to which they have been assigned would not be

completed. If that happened, the customers would not pay the Debtor. This would create an

existential crisis where work in progress would not be completed, accounts receivable would not

be paid, and the Debtor’s business would come to a grinding halt.

       13.     Even if the Vendors are not sole-source suppliers because others in the market are

capable of replacing them, they are for all intents and purposes sole-source suppliers because the

Debtor cannot replace them quickly and not without incurring new expenses that likely would

exceed the relatively small amounts owed to each of the Vendors. The Debtor does not have

executory contracts with any of the Vendors pursuant to which it could compel postpetition

service. Therefore, the Debtor faces the prospect that the Vendors will simply refuse to sell any

further goods or services to the Debtor without immediate payment of the amounts due.

       14.     At the same time, the Debtor seeks only authority to pay these amounts in the

Debtor’s discretion, as opposed to being ordered to pay these amounts. The Debtor intends to




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negotiate with the Vendors to attempt to avoid having to pay their prepetition claims, or to obtain

favorable postpetition credit terms in exchange for these payments. The Debtor will pay these

claims only if necessary to avoid immediate and irreparable harm, and only if the Vendor will

ensure that it will continue to do business with the Debtor on reasonable terms (in other words,

that the Vendor will not simply use the process to extract payment and then cut the Debtor off

from postpetition sales or demand unreasonable credit terms). Moreover, all payments will remain

subject to disgorgement if so ordered by the Court, due to administrative insolvency or if the

Vendor refuses to provide goods or services to the Debtor postpetition. Thus, the Court will retain

a measure of control to guard against inequitable behavior.

       15.     None of the vendors the subject of this Motion are insiders or are affiliated with the

Debtor. All are third-parties engaged in arm’s length transactions with the Debtor.

D.     MOTION TO USE CASH COLLATERAL

       16.     As of the Petition Date, the Debtor was party to each of: (a) a Loan Agreement

dated as of November 30, 2011 (such agreement, along with its thirteen subsequent amendments

and existing immediately prior to the Petition Date, the “Prepetition Loan Agreement”) with EFRS

ST, LLC, as successor-in-interest to Truist Bank, as successor-by-merger to SunTrust Bank, as

Lender, pursuant to which Lender agreed to provide term loans and a revolving line of credit as

set forth therein; (b) the Amended and Restated Term Note A, dated March 31, 2016, with the

Lender (the “Term A Note”), (c) the Term Note B, dated March 31, 2016, with the Lender (the

“Term B Note”), (d) the Revolving Credit Note, dated November 30, 2011, with the Lender (the

“Revolving Credit Note”), (e) the Security Agreement, dated November 30, 2011, with the Lender

(the “Security Agreement”), (f) the UCC Financial Statement no. 11-0034670668, filed with the

Texas Secretary of State, as continued by UCC financing statement amendment bearing file




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number 001600276260 and assigned by UCC financing statement amendment bearing file number

20-00469981 (collectively, the “Financing Statements”), and (g) any and all other documents,

agreements, amendments or instruments executed in connection with the Prepetition Loan

Agreement (such other documents, agreements, amendments or instruments collectively with the

Prepetition Loan Agreement, the Term A Note, the Term B Note, the Revolving Credit Note, the

Security Agreement and the Financing Statements, the “Prepetition Loan Documents”).

           17.      Immediately preceding the Petition Date, the Debtor is liable to Lender in the

amount of at least $15,388,690.27 (the “Minimum Prepetition Indebtedness”), all of which is due

and owing under the Prepetition Loan Agreement and related Prepetition Loan Documents.

           18.      On or about September 2, 2020, the Debtor, as borrower, was party to the certain

Loan Sale Agreement, of the same date, between Truist Bank, as successor-by-merger to SunTrust

Bank and Energy Fishing Investors, LLC, each as “Assignors”, EFRS ST, LLC, as “Assignee,”1

the Debtor, as “Borrower,” and Energy Fishing Holdings, Inc., as “Guarantor,” pursuant to which

(a) Assignors sold and assigned to Assignee and Assignee purchased and assumed from Assignors

the Assignors’ interest in and to such Assignors’ rights and obligations under the Prepetition Loan

Documents including without limitation the Minimum Prepetition Indebtedness, and (b) Assignee

became a party to the Prepetition Loan Documents as Lender, received the rights of Lender

thereunder among its other terms (herein, the “Loan Sale Agreement”).

           19.      Under the Prepetition Loan Documents, the Lender holds a perfected, first priority

lien on substantially all of the Debtor’s assets to secure repayment of the Minimum Prepetition

Indebtedness and any other amounts outstanding under the Prepetition Loan Documents. Among




1
    As a result of this assignment, EFRS ST, LLC shall be referred to hereafter as the “Lender.”


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other things, the Lender holds a perfected, first-priority lien on all the Debtor’s cash and cash

equivalents.

       20.     The Debtor has an immediate need for the use of “Cash Collateral” (as defined in

11 U.S.C. § 363(a). Accordingly, the Debtor and the Lender have negotiated an Agreed Interim

Order Authorizing Use of Cash Collateral (the “Interim Order”), attached to the cash collateral

motion as Exhibit “A”, pursuant to which the Lender will permit the Debtor to use Cash Collateral

in accordance with the budget (the “Budget”), attached to the motion as Exhibit “B”, in exchange

for adequate protection, as detailed in the motion.

E.     UTILITY ADEQUATE ASSURANCE

       21.     The Debtor receives utility service from a number of providers, which can be

summarized as follows:

                                                                                     Proposed
                                                           Amount       Monthly
 Vendor                 Service        Location                                     Adequate
                                                           (12 Mo.)       Avg.
                                                                                    Assurance
 ATMOS ENERGY           Electric       Odessa             $1,395.00      $116.25        $58.13
 CITY OF ALICE          Water          Alice              $2,884.00      $240.33       $120.17
 CITY OF                               Houston -
                        Water                             $3,844.00      $320.33       $160.17
 HOUSTON                               Shop
 CITY OF ODESSA Water                  Odessa             $2,539.00      $211.58       $105.79
 CITY OF
                        Water          Victoria             $511.00       $42.58        $21.29
 VICTORIA
                                       Washington,
 COLUMBIA GAS           Gas                               $3,661.00      $305.08       $152.54
                                       PA
 CONSOLIDATED
 WATERWORKS             Water          Houma              $1,473.00      $122.75        $61.38
 DIST. NO.1
 CONSTELLATIO
 N NEW ENERGY,          Electric       Alice             $12,732.00    $1,061.00       $530.50
 INC.




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                                                                                      Proposed
                                                            Amount      Monthly
 Vendor                 Service       Location                                       Adequate
                                                            (12 Mo.)      Avg.
                                                                                     Assurance
 CONSTELLATIO
                                      Houston -
 N NEW ENERGY,          Electric                          $13,647.00    $1,137.25       $568.63
                                      Shop
 INC.
 CONSTELLATIO
 N NEW ENERGY,          Electric      Victoria             $5,126.00     $427.17        $213.58
 INC.
 CONSTELLATIO
 N NEW ENERGY,          Electric      Odessa              $13,599.00    $1,133.25       $566.63
 INC.
 ENTERGY                Electric      Houma                $9,246.00     $770.50        $385.25
 LIBERTY POWER          Electric      Dilley               $6,733.00     $561.08        $280.54
 REPUBLIC               Trash         Houston -
                                                           $5,405.00     $450.42        $225.21
 SERVICES #853          Pickup        Shop
 REPUBLIC               Trash
                                      Dilley               $2,861.00     $238.42        $119.21
 SERVICES #859          Pickup
 TOMAHAWK               Trash
                                      Hobbs, NM            $1,272.00     $106.00         $53.00
 DISPOSAL               Pickup
 WASTE
                        Trash         Washington,
 MANAGEMENT -                                              $4,365.00     $363.75        $181.88
                        Pickup        PA
 13648
 WASTE
                        Trash
 MANAGEMENT -                         Victoria             $2,261.00     $188.42         $94.21
                        Pickup
 660345
 WEST PENN                            Washington,
                        Electric                           $3,396.00     $283.00        $141.50
 POWER                                PA
 XCEL ENERGY            Electric      Hobbs, NM            $3,180.00     $265.00        $132.50
 ZIA NATURAL
                        Gas           Hobbs, NM              $947.00       $78.92        $39.46
 GAS COMPANY

       22.     The Debtor proposes to provide adequate assurance of future payments to these

utility providers by supplying each of them with a deposit in the amount of the proposed adequate

assurance identified in the table above. Uninterrupted utility service is critical to the Debtor’s

continued operations.



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F.      EMERGENCY CONSIDERATION

        23.      As discussed above, the Debtor’s financial situation has been jeopardized due to

market conditions beyond the Debtor's control, such as a price war between two foreign powers

and the ongoing COVID-19 pandemic. The Debtor therefore filed this bankruptcy case to

reorganize its financial affairs and obtain a fresh start. But the Debtor's situation is precarious.

Any further shocks to its system could be detrimental. I therefore believe that emergency

consideration of the First Day Motions is necessary to avoid immediate and irreparable harm.

The Debtor simply cannot continue to survive without the support of its employees, contractors,

and critical vendors. Likewise, the Debtor cannot afford to incur substantial fees and interest

penalties for failing to pay prepetition sales tax on time. And none of this would be possible if

the Debtor does not rapidly obtain authority to use cash collateral. In other words, the Debtor's

prospects for reorganization depend on emergency consideration of the First Day Motions.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

         Executed on September _23, 2020.


                                                      [NAME] Arthur L. Potter




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